 Case 12-27642       Doc 158     Filed 02/08/18 Entered 02/08/18 12:36:22           Desc Main
                                  Document     Page 1 of 4




Dated: February 08, 2018
The following is SO ORDERED:


                                                  ________________________________________
                                                              David S. Kennedy
                                                  UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION



  IN RE:

  Donal Martin McDonagh                                        Case No. 12-27642- DSK
  & Michele Rawls McDonagh

  Debtor(s)                                       Chapter 13
  ________________________________________________________________________

            AGREED ORDER REGARDING LOCAL PROPERTY TAXES
  ________________________________________________________________________

           BY CONSENT OF THE PARTIES, it appears to the Court that Debtors and the

  Shelby County Trustee (“Shelby County”) have agreed to entry by this Court of this order

  that provides as follows:

     1. The effect of Shelby County’s October 24, 2017, withdrawal (Doc. 150) of Shelby

           County’s November 18, 2014, amendment to Ch. 13 Trustee Claim No. 6 (“Ch. 13

           Trustee Claim No. 6”), also known as Court’s Claim # 1, is that said Ch. 13 Trustee
Case 12-27642      Doc 158      Filed 02/08/18 Entered 02/08/18 12:36:22             Desc Main
                                 Document     Page 2 of 4




         Claim No. 6, as originally filed July 24, 2012, for $30,198.76, shall be treated as if

         said Ch. 13 Trustee Claim No. 6 had never been amended.

    2.   Shelby County currently has on-hand a surplus of $18,337.51 as a result of the

         following:

            a. Plan payments Shelby County received from the Ch. 13 Trustee on Ch. 13

                Trustee Claim Nos. 6, 31, 32 and 33 for Shelby County property taxes

                assessed against Real Estate Tax Parcel ID # G0231S0D000060 (“Real

                Estate Tax Parcel ID # G0231S0D000060”) at 2416 Sanders Ridge Ln,

                Germantown, TN 38138-6144; and

            b. Payment Shelby County received outside of the plan from WestVue NPL

                Trust (“WestVue”) for Shelby County property taxes assessed against Real

                Estate Tax Parcel ID # G0231S0D000060 for tax years 2013, 2014, and

                2015,

    3. Shelby County shall retain or disburse said $18,337.51 as follows:

            a. Shelby County shall retain $1,757.99 as reimbursement to Shelby County

                for $1,757.99 which Shelby County, through administrative error, used

                from its funds to pay (1.) $1,382.49 to the City of Germantown for 2010

                City of Germantown real estate taxes assessed by the City of Germantown

                against Real Estate Tax Parcel ID # G0231S0D000060 and (2.) $375.50

                fees charged by Shelby County to City of Germantown for Shelby County’s

                collection of said $1,382.49.

            b. Shelby County shall retain $7,947.86 as payment-in-full of the taxes and

                                          Page 2 of 4
Case 12-27642     Doc 158     Filed 02/08/18 Entered 02/08/18 12:36:22            Desc Main
                               Document     Page 3 of 4




                interest owed for the post-petition 2016 Shelby County real estate taxes now

                due and owing in connection with the Real Estate Tax Parcel ID #

                G0231S0D000060.

           c. Shelby County shall disburse the remaining balance of $8,631.66 to the

                Chapter 13 Trustee for appropriate disbursement by the Chapter 13 Trustee

                to Debtors’ unsecured general creditors.


 APPROVED BY CONSENT:


 /s/ Elijah Noel, Jr.___________
 Elijah Noel, Jr. (BPR #8655)
 Delinquent Tax Attorney
 Shelby County Trustee’s Office
 157 Poplar Ave., 3rd Floor
 Memphis, TN 38103
 (901) 525 -1455

 Attorney for Shelby County Trustee

  /s/ James D. Gentry ___________
 James D. Gentry, (BPR #020776)
 Gentry Arnold, PLLC
 5100 Poplar Ave., Suite 600
 Memphis, TN 38137
 (901) 591-8800

 Attorney for Debtors Donal Martin McDonagh & Michele Rawls McDonagh


 ___________________________________
  /s/ George W. Stevenson
 George W. Stevenson
 Chapter 13 Trustee
 5350 Poplar Avenue, Suite 500
 Telephone: (901) 821-2400

 cc:    All Interested Parties
        Parties Requesting Notice
                                         Page 3 of 4
Case 12-27642      Doc 158      Filed 02/08/18 Entered 02/08/18 12:36:22             Desc Main
                                 Document     Page 4 of 4




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on or about the date of electronic filing of this
 document a true and accurate copy of the foregoing electronically filed pleading was served
 on the parties listed below by U.S. Mail, first class postage prepaid, unless said party is a
 registered CM/ECF participant who has consented to electronic notice, unless the Notice
 of Electronic Filing indicates notice was electronically mailed to said party.

        Ch. 13 Trustee
        Attorney for Debtor
        All Other Parties listed on Matrix

                                                /s/ Elijah Noel, Jr.
                                                 Elijah Noel, Jr




                                           Page 4 of 4
